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                                                  No. 25-3034
                             IN THE UNITED STATES COURT OF APPEALS
                                     FOR THE NINTH CIRCUIT
                                _________________________________________________

                In re Donald J. Trump, in his official capacity as President of the United States,
                                                      et al.,
                                            Petitioners-Defendants,
                                                        v.
                      United States District Court for the Northern District of California,
                                                 Respondent,
                  American Federation of Government Employees, AFL-CIO (AFGE), et al.,
                                     Real Parties in Interest-Plaintiffs.
                     _____________________________________________________

                 ON PETITION FOR WRIT OF MANDAMUS TO THE UNITED STATES
                 DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                      No. 3:25-cv-03698-SI
                                The Honorable Judge Susan Illston
                      _________________________________________________
                      REAL PARTIES IN INTEREST-PLAINTIFFS’ OPPOSITION
                               TO MOTION FOR STAY PENDING
                            RESOLUTION OF MANDAMUS PETITION
                                 _______________________________________________
                    Elena Goldstein                      Stacey M. Leyton
                    Skye Perryman                        Barbara J. Chisholm
                    Tsuki Hoshijima                      Danielle E. Leonard
                    DEMOCRACY FORWARD                    Corinne F. Johnson
                    FOUNDATION                           Alice X. Wang
                    P.O. Box 34553                       Robin S. Tholin
                    Washington, D.C. 20043               ALTSHULER BERZON LLP
                    Tel.: (202) 448-9090                 177 Post St., Suite 300
                    egoldstein@democracyforward.org      San Francisco, CA 94108
                    sperryman@democracyforward.org       Tel.: (415) 421-7151
                                                         sleyton@altber.com
                                                         dleonard@altber.com
                                  Attorneys for Real Parties in Interest-Plaintiffs*
                               *additional counsel and affiliations on signature pages
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                                              INTRODUCTION
                    Real Parties in Interest-Plaintiffs—a coalition of veterans, small business,
             labor, and conservation organizations along with cities and counties from across

             the country (hereinafter “Plaintiffs”)—respectfully submit this response to the
             emergency motion for a stay pending petition for mandamus filed by Petitioners-
             Defendants Donald J. Trump et al. (hereinafter “Defendants”).

                    Defendants filed their mandamus petition and emergency stay motion
             prematurely, while their deliberative process objections and request for
             reconsideration were pending in the District Court. Shortly after Defendants filed
             in this Court, the District Court ruled on those pending requests, staying
             Defendants’ production deadline and ordering briefing on their privilege assertion.
             The District Court then reconsidered its decision, required only the limited

             submission of a small number of documents for in camera and attorneys’-eyes-
             only review, and scheduled argument on Defendants’ deliberative process privilege
             assertions for May 22, 2025. The original order challenged here has thus been
             superseded, the District Court is now considering Defendants’ objections, and this
             stay motion is moot. Defendants should be required to address their objections in
             the first instance to the District Court, at the upcoming hearing. The requested stay

             (and the underlying mandamus petition) should be summarily denied.
                    Even if, at the time Defendants filed this stay application, there had been any
             basis for this Court to issue a stay (and there was not), there certainly can be no

             basis for this Court to interfere with the District Court’s measured and sensible
             order providing for in camera review that the court deemed necessary to fully

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             evaluate Defendants’ deliberative process privilege claim (which is a “qualified”
             privilege that may be overcome if a litigant’s “need for the materials and the need

             for accurate fact-finding override the government’s interest in non-disclosure,”
             FTC v. Warner Commc’ns Inc., 742 F.2d 1156, 1161 (9th Cir. 1984)). See Pizzuto
             v. Tewalt, __F.4th__, 2025 WL 1391454, at *10 (9th Cir. May 14, 2025) (en banc)

             (“A district court has wide latitude in controlling discovery[.]” (quotation
             omitted)). There is also no risk of imminent or irreparable harm to Defendants,
             because the District Court entered an attorneys’-eyes-only protective order

             preventing disclosure of those limited documents to anyone other than the Court
             and Plaintiffs’ counsel. That alone would provide sufficient reason to deny the
             requested emergency stay.

                    Further, the stay request should be denied because Defendants are not likely
             to succeed on their mandamus petition. Even if the District Court were ultimately
             to order production of all documents after in camera review and the upcoming
             hearing on Defendants’ qualified privilege objections, the “granting of mandamus
             as to discovery orders is limited” and requires “exceptional circumstances” and
             error that amounts to “usurpation by the district court.” Kerr v. U.S. Dist. Ct. for
             N. Dist. of California, 511 F.2d 192, 199 (9th Cir. 1975), aff’d, 426 U.S. 394
             (1976). Defendants come nowhere close to meeting that standard. Instead, they
             seek to have this Court preemptively stay and then overturn current and future
             District Court orders regarding discovery relevant to an immediately pending
             preliminary injunction hearing—all of which are solidly within the District Court’s
             discretion.
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                    For these reasons, the emergency stay motion should be denied.

                                               BACKGROUND
                    Plaintiffs’ claims in this case challenge the President’s large-scale
             reorganization of the entire federal government without congressional
             authorization pursuant to Executive Order 14210 (“EO”), and implementation of

             that EO through a February 26, 2025 Office of Management and Budget (“OMB”)
             and Office of Personnel Management (“OPM”) Memorandum (“Memo”). Add.1-
             127. Among other things, the EO and Memo require federal agencies across the

             government to reorganize, to engage in large-scale reductions-in-force (“RIFs”),
             and to submit, for review and approval, agency RIF and Reorganization Plans
             (“ARRPs”). Add.47-51, 371.

                    Plaintiffs contend that Defendants’ actions are ultra vires and violate the
             Administrative Procedure Act, and Plaintiffs filed a motion for a temporary
             restraining order (“TRO”) and order to show cause why a preliminary injunction
             should not issue, requesting that Defendants be ordered to halt their ongoing and
             imminent implementation of the EO and Memo. Add.128-219. In that motion,
             Plaintiffs presented substantial evidence that the agencies were acting consistent

             with and apparently pursuant to the orders and directives of the President and his
             agents, and that Defendants were refusing to reveal the decision-making process or
             contents of their actions implementing the EO and Memo. Plaintiffs’ motion
             therefore sought expedited discovery in conjunction with the preliminary
             injunction proceedings requiring Defendants to produce the federal agency ARRPs,


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             which have heretofore been kept secret, under Federal Rule 26(d). Add.197, D. Ct.
             Dkt. 37-2 at 5.

                    Defendants’ opposition to the TRO argued, in relevant part, that the
             President and his implementing agencies were merely providing “guidance” to the
             other federal agencies—and not ordering or directing them to reorganize, to

             eliminate functions, or to engage in large-scale RIFs. Add.235 (“[N]either the
             Workforce Executive Order nor the Workforce Memorandum … dictates the results
             of agencies’ decisionmaking processes.”); id. at 237, 247, 269-72, 274, 276-77.

             Defendants also largely denied the relationship between the ARRPs and RIFs,
             Add.249, 254, and argued that Plaintiffs’ allegations regarding imminent agency
             actions were “entirely speculative,” Add.254, 265-66. The only objections that

             Defendants raised to disclosing the ARRPs in their 50-page TRO opposition were
             that Plaintiffs do not need the ARRPs and that the proper mechanism to obtain
             them is the Freedom of Information Act (“FOIA”). Add.281-82.
                    On May 9, 2025, after a lengthy hearing, the District Court issued a 14-day
             TRO and set a preliminary injunction hearing for Thursday, March 22, 2025.
             Add.406-08. Having reviewed the evidence submitted by Plaintiffs regarding these
             ARRPs and Defendants’ actions, the District Court found that “the release of the
             ARRPs will significantly aid the Court’s review of the merits of the[] APA claims.”
             Add.403. Specifically, the court explained that “more information” was
             “require[d] … to evaluate the individual ARRPs and what roles OMB, OPM, and
             DOGE have played in shaping them,” and that “[t]he timelines required to be in the
             ARRPs will be particularly useful to the Court as it determines whether further
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             prompt action is necessary.” Add.405-06. The District Court therefore “order[ed]
             … disclosure [of the ARRPs and related documents] under the Court’s inherent

             powers to manage discovery production,” and found “it appropriate to order this
             production on an expedited discovery basis,” by May 13, 2025. Id.1
                    On the evening of May 11, Defendants filed a motion for a protective order

             or reconsideration in the District Court, seeking relief from the requirement to
             produce ARRPs based on the deliberative process privilege, and requested an
             “immediate administrative stay” with respect to the Tuesday deadline. Add.409-

             422. Defendants’ assertion of the privilege was supported by a single, perfunctory
             declaration from an OMB advisor. See id. As Plaintiffs had advised Defendants
             that they would do, Plaintiffs responded by asking the District Court to schedule

             briefing on Defendants’ request and to postpone the Tuesday deadline until
             resolution of Defendants’ motion. D. Ct. Dkt. 90.
                    Without waiting for the District Court to act, the next morning, Defendants
             filed a mandamus petition and an emergency stay motion in this Court.2 That


                    1
                     Specifically, the District Court ordered production and filing of “(1) the
             versions of all defendant agency ARRPs submitted to OMB and OPM, (2) the
             versions of all agency ARRPs submitted to OMB and OPM, (3) any agency
             applications for waivers of statutorily-mandated RIF notice periods, and (4) any
             responses by OMB or OPM to such waiver requests, by 4:00 p.m. (PDT) on
             Tuesday, May 13, 2025.” Add.406 (emphasis removed). Defendants have not
             argued to the District Court that the third and fourth categories are covered by the
             deliberative process privilege.
                    2
                    Defendants also filed their emergency stay motion in 9th Cir. Case No. 25-
             3030, which is their appeal of the TRO. Defendants’ arguments regarding the
             TRO are addressed in Plaintiffs’ separate response filed in Case No. 25-3030.
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             afternoon, the District Court set a briefing schedule on Defendants’ motion for a
             protective order or reconsideration and ruled that Defendants would not be

             required to produce any documents until after the District Court ruled on their
             motion. 9th Cir. No. 25-3034, Dkt. 6.1.
                    After briefing, on Thursday, May 15, the District Court issued an order

             reconsidering its earlier discovery order. Supp.Add.2. The court noted that “the
             parties characterize the contents of the ARRPs in starkly different terms” and that
             “[t]o assess whether the deliberative process privilege applies to the ARRPs …, the

             Court would benefit from a better understanding of their contents.” Supp.Add.4.
             It therefore ordered Defendants to provide to the court for in camera review the
             ARRPs of four federal agency defendants by Monday, May 19 and stated that it

             would hear argument on the deliberative process privilege issue at the May 22
             preliminary injunction hearing. Supp.Add.4-5. The court also required Defendants
             to provide the four ARRPs to Plaintiffs’ counsel, and entered a protective order
             prohibiting Plaintiffs’ counsel from disclosing the documents to their clients or
             anyone else. Supp.Add.5.
                    Despite these developments, including the District Court’s reconsideration,
             Defendants did not withdraw their stay motion or their (now outdated) mandamus
             petition. Instead, without awaiting resolution of the discovery and privilege issues
             by either the District Court or this Court, the next morning, May 16, Defendants
             filed an emergency stay application in the United States Supreme Court, seeking
             review of the TRO and the discovery rulings. As relates to the latter, Defendants
             acknowledged the District Court’s reconsideration of its original order but warned
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             that “the district court could at any moment reinstate its order for the government
             to disclose internal executive-branch documents that are protected by the

             deliberative-process privilege” and argued that “if the court ultimately orders
             disclosure of these materials, that would be the type of clear and indisputable error
             that warrants mandamus relief.” Application for Stay, U.S. Supreme Court No.

             24A1106 (May 16, 2025) at 34-35.
                                             STANDARD
                    A stay pending appeal is an “extraordinary request.” East Bay Sanctuary
             Covenant v. Biden, 993 F.3d 640, 661 (9th Cir. 2021) (citations omitted). It is “‘an
             exercise of judicial discretion,’ and ‘the propriety of its issue is dependent upon the
             circumstances of the particular case.’” Al Otro Lado v. Wolf, 952 F.3d 999, 1006
             (9th Cir. 2020) (quoting Nken v. Holder, 556 U.S. 418, 433 (2009)). In deciding a

             motion to stay pending a mandamus petition, this Court applies the Nken factors:
             likelihood of success on appeal; irreparable injury absent a stay; whether a stay
             will injure other parties; and the public interest. Nken, 556 U.S. at 434; e.g., In re
             Toma, 2023 WL 8183567, at *1 (9th Cir. Oct. 12, 2023) (applying Nken factors). A
             stay applicant has the burden to establish likely irreparable injury in the absence of
             a stay, Al Otro Lado, 952 F.3d at 1007 (citing Nken, 556 U.S. at 434), and if it fails

             to do so, “a stay may not issue,” regardless of the other factors, Doe #1 v. Trump,
             957 F.3d 1050, 1058 (9th Cir. 2020).




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                                                DISCUSSION

             A.     No Urgency or Irreparable Injury Requires Issuance of an Emergency
                    Stay
                    The basis for Defendants’ emergency stay request (the May 13 production
             deadline originally set by the District Court) has been stayed and superseded.
             Even if Defendants’ conclusory declaration were sufficient to demonstrate that

             irreparable injury would result from the disclosure the District Court originally
             ordered,3 the District Court reconsidered its May 9 discovery order, relieved
             Defendants of any obligation to comply with that order, and will rule on

             Defendants’ privilege assertion following its in camera review of a limited set of
             documents and oral argument on the applicability of the privilege. Supra at 5-6.
             Thus, no public disclosure of the ARRPs is imminent and no immediate action by

             this Court is needed.
                    After the May 22 hearing, the District Court may rule in favor of
             Defendants’ privilege assertion, thereby mooting this writ petition completely; it
             may modify its order, also mooting the writ petition (at least in part); or it may
             reaffirm its original order with modified or additional reasoning, rendering moot
             the arguments on which Defendants’ petition is based. As a result, Defendants




                    3
                      Defendants’ declaration contains a single conclusory and speculative
             paragraph stating that “ARRPs include highly sensitive information that would
             seriously undermine agency operations if they were released.” Add.421 ¶4. It
             posits, for example, that the disclosure of reorganization plans “might seriously
             hurt agency recruitment and retention if released.” Id. (emphasis added); see also
             infra at 19-20.
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             cannot possibly meet their burden to establish likely irreparable injury, and so their
             emergency motion should be summarily denied.

                    Without irreparable harm, there is no basis for this Court to issue an
             emergency stay. See Doe #1, 957 F.3d at 1058. Indeed, such a stay would be
             counterproductive. Not only would it prevent the District Court from receiving the

             information that it believes necessary to fully assess Defendants’ qualified
             privilege claims, but it would deprive this Court of the benefit of a fully informed
             decision to review on any future (proper) appeal.

             B.     Mandamus is Unlikely to Be Granted
                    Mandamus is a “drastic and extraordinary remedy.” Cheney v. U.S. Dist. Ct.
             for D.C., 542 U.S. 367, 380 (2004) (quotation omitted). Only “exceptional
             circumstances amounting to a judicial usurpation of power or a clear abuse of

             discretion will justify the invocation of this extraordinary remedy.” Id. (citations
             and quotations omitted). Mandamus lies only where the petitioner has “no other
             adequate means to attain the relief,” the right to the writ is “clear and
             indisputable,” and the appellate court is satisfied that the writ is appropriate under
             the circumstances. Id. at 380-81 (quotation omitted).
                    “Generally, this standard makes the writ unavailable in the discovery context

             for two important reasons.” In re Perez, 749 F.3d 849, 854 (9th Cir. 2014). “First,
             this court is particularly reluctant to interfere with a district court’s day-to-day
             management of its cases.” Id. Second, “[b]ecause the district court has discretion

             to control discovery, it is hardly ever the case that a petitioner’s right to a particular


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             result is ‘clear and indisputable.’” Id. (quoting Cheney, 542 U.S. at 380-81); see
             also Fed. R. Civ. P. 26(d) (allowing expedited discovery for “good cause”).

                    As a threshold matter, Defendants’ mandamus petition is improper because
             there is plainly another “adequate means … to secure relief”: the District Court’s
             pending decision on the deliberative process privilege may provide Defendants the

             same relief they seek here. Burlington N. & Santa Fe Ry. Co. v. U.S. Dist. Ct. of
             Mont., 408 F.3d 1142, 1146 (9th Cir. 2005). That is dispositive.
                    Aside from that, the District Court’s order was not “clearly erroneous as a

             matter of law.” Id. (quotations omitted). The primary contention of Defendants’
             mandamus petition—that the District Court failed to consider the qualified
             deliberative process privilege—is simply not true. The District Court has received

             full briefing on the matter, issued an order requesting limited in camera review in
             order to better understand the ARRPs, and set the matter for hearing.4 And it
             remains far from “clear and indisputable” that the ARRPs are subject to a qualified

                    4
                      The District Court’s initial May 9, 2025 Order did not analyze the
             deliberative process privilege because Defendants had not adequately asserted the
             privilege at the time. While, as noted, Defendants’ brief did at one point
             characterize the ARRPs as “deliberative agency planning documents,” Add.254, it
             did so as part of Defendants’ arguments against a TRO; Defendants did not did not
             raise the deliberative process privilege in their argument opposing production of
             the ARRPs. Add.281-82; cf. United States v. Gonzalez–Flores, 418 F.3d 1093,
             1100 n.4 (9th Cir. 2005) (“Issues raised in a brief which are not supported by
             argument are deemed abandoned.”) (quotation omitted); Ochoa v. Davis, 50 F.4th
             865, 891 n.2 (9th Cir. 2022) (same). Nor did Defendants’ counsel argue the
             privilege during oral argument. While Plaintiffs do not ask this Court to find that
             the issue was waived or forfeited, the District Court certainly cannot be faulted for
             failing to “address[]” the deliberative process “concerns or engage[e] in any
             balancing analysis” given this history. Mot. 22.
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             deliberative process privilege that outweighs the need for production in this
             litigation. In re Perez, 749 F.3d at 854. Thus, the very high standard for

             mandamus will not be met.
                    1.      The ARRPs are relevant to the litigation
                    Although Defendants’ mandamus petition disputes the ARRPs’ relevance,

             District Courts have “broad discretion in determining relevancy for discovery
             purposes.” Pizzuto, __F.4th__, 2025 WL 1391454, at *10. Plaintiffs’ position in
             this litigation is that the President, through his EO and implementing agencies

             OMB and OPM, has engaged in unlawful top-down reorganization of the federal
             government, including by ordering agencies to engage in categorical, large-scale
             RIFs and eliminate all programs identified by the President. Add.116-27, 156-58.

             OMB/OPM’s Memo directs all federal agencies to submit ARRPs implementing
             the EO, including by eliminating functions and conducting large-scale RIFs, for
             review and approval, to OMB and OPM, by deadlines that have already passed
             (March 13 and April 14). Add.121, 123-24. Agencies have begun to implement
             the actions that OMB and OPM required be set forth in these ARRPs, and OMB
             and OPM have been approving or, in some cases, disapproving ARRPs submitted
             by the agencies and actions taken pursuant to those plans. See Add.57-72, 159,
             374-75.5 Defendants, on the other hand, deny that the President and his
             implementing agencies are ordering or directing such actions at all, and argue that


                    5
                     For example, OMB and OPM rejected the first ARRP submitted by NLRB,
             which stated that the NLRB would not engage in any RIFs because its employees
             are essential to the agency’s mission. Add.170-71.
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             they are merely providing guidance to federal agencies as to how the agencies
             should exercise their discretion. See, e.g., Add.235, 237, 246-47, 269-71, 274, 276.

                    Thus, as the District Court explained, ARRPs are important evidence
             regarding a key factual dispute: the extent to which federal agencies are subject to
             and following the central directives of the EO and OMB and OPM (as Plaintiffs

             contend) or are instead exercising their own discretion to engage in the RIFs
             identified in the ARRPs (as Defendants contend). Supp.Add.1-2.
                    Furthermore, it appears that OMB and OPM have already approved a

             substantial number of ARRPs. The approved ARRPs are likely to reveal actual or
             imminent actions by the federal agencies, including the scope of and timeline for
             those actions. This information will aid the Court’s consideration of preliminary

             injunctive relief. Defendants cannot on the one hand object that Plaintiffs’
             allegations regarding actual and imminent agency action, painstakingly culled from
             agency statements and other public information, are “speculative,” e.g., Add.266,
             280, while at the same time withholding the very documents that would reveal
             those actions.6 At most, Defendants can claim a qualified privilege, which must be
             balanced against the needs of the litigation. District Courts are asked to engage in
             careful and probing analysis of the need for injunctive relief and should not be
             deprived of the means to obtain directly relevant evidence that pertains to the need
             for and appropriate scope of that relief.

                    6
                      The RIF and reorganization plans in the ARRPs are relevant to showing
             standing and imminent irreparable harm, which Defendants have challenged.
             Plaintiffs assert harms from impending staffing and program cuts that will
             terminate their members’ employment and remove vital government services.
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                    ARRPs thus easily clear the low threshold of being “relevant to any party’s
             claim or defense” and are discoverable under Federal Rule of Procedure 26(b)(1),

             as the District Court expressly found, Add.403.

             2.     The District Court’s measured order requiring limited disclosure for in
                    camera review was appropriate, not error
                    After Defendants filed their mandamus petition and motion to stay, the

             District Court reconsidered the order that Defendants challenge. The District
             Court’s reconsideration order is not properly before this Court, because the order
             postdates both Defendants’ petition and their stay motion. At any rate, the District
             Court certainly did not err when, on reconsideration, it required in camera review
             of a limited set of highly relevant documents to aid the court’s assessment of
             Defendant’s belatedly asserted deliberative privilege objection. In camera review

             is a common and appropriate procedure for assessing privilege claims. See, e.g.,
             Kerr v. U.S. Dist. Ct. for N. Dist. of California, 426 U.S. 394, 405-06 (1976)
             (“[T]his Court has long held the view that in camera review is a highly appropriate
             and useful means of dealing with claims of governmental privilege.”); cf. Lahr v.
             Nat’l Transp. Safety Bd., 569 F.3d 964, 983 (9th Cir. 2009) (“Our in camera review
             of the document confirms that it is predecisional for the purposes of the

             deliberative process privilege.”).
                    Reviewing the four ARRPs will help the District Court determine whether
             the deliberative process privilege applies at all. The deliberative process privilege

             permits the government to withhold “documents that reflect advisory opinions,
             recommendations and deliberations comprising part of a process by which

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             government decisions and policies are formulated.” FTC v. Warner Commc’ns,
             742 F.2d 1156, 1161 (9th Cir. 1984). To qualify for the qualified privilege, a

             document must be both (1) predecisional, having been “generated before the
             adoption of an agency’s policy or decision,” and (2) deliberative in nature,
             “containing opinions, recommendations, or advice about agency policies.” Id. The

             deliberative process privilege does not protect facts unless the withholding party
             shows that they are interwoven with deliberative material and not segregable. Pac.
             Fisheries, Inc. v. United States, 539 F.3d 1143, 1148 (9th Cir. 2008).7

                    The District Court explained that it could not decide whether the ARRPs
             were predecisional or deliberative without in camera review. As the court
             explained, “the parties characterize the contents of the ARRPs in starkly different

             terms.” Supp.Add.4. While the declaration that Defendants submitted portrayed
             the ARRPs as nonbinding, never final, and highly sensitive, Plaintiffs presented
             evidence (including the cover page of a Phase 2 ARRP from a non-defendant
             agency, Supp.Add.27-28) “suggest[ing] the plans are final agency decisions that
             have led to quick, tangible actions with widespread effects” and did not contain
             “highly sensitive information” as Defendants’ declarant claimed. Supp.Add.4.8

                    7
                      Pacific Fisheries and other FOIA cases that address deliberative process
             privilege under FOIA Exemption Five are relevant here because that FOIA
             exemption “incorporates the privileges available to Government agencies in civil
             litigation.” U.S. Fish & Wildlife Serv. v. Sierra Club, Inc., 592 U.S. 261, 267
             (2021).
                    8
                     The declaration Defendants submitted on May 11 did not establish the
             privilege with the required specificity. A deliberative process privilege claim
             requires “(1) a formal claim of privilege by the head of the department having

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             Thus, “[t]o assess whether the deliberative process privilege applies to the ARRPs
             …, the Court would benefit from a better understanding of their contents.” Id.

             Accordingly, it was eminently reasonable for the District Court to order in camera
             review.
                    Moreover, even if Defendants were correct in arguing that the deliberative

             process privilege applies, the privilege is a qualified one that may be overridden if
             the litigant’s “need for the materials and the need for accurate fact-finding override
             the government’s interest in non-disclosure.” Warner Commc’ns, 742 F.2d at 1161.

             And in deciding whether to override the privilege, “the relevance of the evidence”
             is the first consideration. Id. Thus, the District Court would need to review the
             documents for this reason as well.

                    Finally, although Plaintiffs’ counsel will also receive the four ARRPs, the
             District Court prohibited Plaintiffs’ counsel from disclosing the ARRPs to any third


             control over the requested information; (2) assertion of the privilege based on
             actual personal consideration by that official; and (3) a detailed specification of the
             information for which the privilege is claimed, with an explanation why it properly
             falls within the scope of the privilege.” Landry v. F.D.I.C., 204 F.3d 1125, 1135
             (D.C. Cir. 2000) (quotation omitted). But Defendants’ assertion of the privilege,
             over more than a dozen agencies’ ARRPs, was supported only by a single
             declaration, from an OMB advisor, that did not state that he personally considered
             or reviewed any of the ARRPs at issue or display any awareness of the specifics of
             any ARRP at all. Add.420. Instead, he provided generalized characterizations
             about the purported contents of ARRPs and their alleged nature as “living
             documents,” which are insufficient to support the privilege. Add.421 ¶6.
             Moreover, the declaration’s generalized assertions were inconsistent with the actual
             ARRP that Plaintiffs recently obtained. In light of Defendants’ failure to support
             their privilege claim, the District Court’s order for in camera review was perfectly
             reasonable.
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             party or even to their clients. Supp.Add.5. Such a limited disclosure, narrowly
             tailored to the purpose of assessing the privilege, is not “likely to adversely affect

             the purposes of the privilege,” Coastal States Gas Corp. v. Dep’t of Energy, 617
             F.2d 854, 866 (D.C. Cir. 1980), which is to “promote frank and independent
             discussion among those responsible for making governmental decisions,” Warner

             Commc’ns, 742 F.2d at 1161. And this restriction eliminates Defendants’ other
             asserted (yet unsubstantiated) fears—that federal employees or job applicants may
             learn of the agencies’ plans to cut staffing or that unions may be exposed to agency

             collective bargaining strategies. See infra at 19-20. Without irreparable harm,
             there can be no basis for this Court to issue an emergency stay.

             3.     An order requiring disclosure of all the ARRPs would not be erroneous
                    either
                    Even if the District Court were to eventually order disclosure of all of the
             ARRPs, and to remove the restrictions on their disclosure, that would also not be
             erroneous.
                    First, Defendants did not establish that the ARRPs are predecisional.
             Certainly, those ARRPs that have already been approved by OMB and OPM
             cannot be characterized as such.9 While Defendants argue that ARRPs are “never

             final” (and so, apparently, will always be predecisional), Add.412, that contradicts
             the factual record, which shows that ARRPs were subject to two deadlines for


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                     One federal agency disclosed both the March 13 and the April 14 ARRP to
             its employees’ union, presumably because they were approved and so no longer
             predecisional. Supp.Add.27-28.
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             submission and approval (which have both passed), that they are subject to a
             further implementation deadline of September 30, 2025 (Add.212), and that the

             implementation of many ARRPs is already underway and resulting in immediate
             harms. Add.57-98, 159-76, 374-75, 379-83.10 The possibility of future change
             does not make a document pre-decisional. “[Defendants’] argument proves far too

             much. Any memorandum always will be ‘predecisional’ if referenced to a decision
             that possibly may be made at some undisclosed time in the future.” Assembly of
             State of Cal. v. U.S. Dep’t of Com., 968 F.2d 916, 921 (9th Cir. 1992), as amended

             on denial of reh’g (Sept. 17, 1992).
                    Second, Defendants did not show that any of the ARRPs, whether approved
             or not, are deliberative. Deliberative documents “contain[] opinions,

             recommendations, or advice about agency policies,” Warner Commc’ns, 742 F.2d
             at 1161, that “reveal the mental processes of decision-makers,” Assembly of State
             of Cal., 968 F.2d at 921. ARRPs do no such thing. OMB and OPM’s Memo sets
             forth the required elements that an ARRP must contain, including (as discussed
             infra at 18) substantial factual material and a list of RIFs and reorganization
             measures that comply with the EO’s categorical requirements for staffing cuts.
             Add.123-26. Because ARRPs implement a mandatory reorganization directive by
             the President, as well as further directives by OMB and OPM, they do not
             “reflect[] the give-and-take of the consultative process.” Coastal States Gas Corp.,

                    10
                      To the extent the Government contends that ARRPs are predecisional with
             respect to the decision by OMB and OPM to approve each ARRP, that necessarily
             concedes that OMB and OPM are in fact exercising unlawful decision-making
             power over agencies. See Add.398-400.
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             617 F.2d at 866. Plaintiffs did not, for example, request agencies’ drafts of
             ARRPs; Plaintiffs asked for disclosure of the ARRPs submitted for OMB and OPM

             approval.
                    Further, significant components of the ARRPs are purely factual, as required
             by the OMB/OPM Memo (e.g., identifying agency subcomponents and offices

             categorized as non-essential during government shutdowns, which is the EO’s
             baseline for determining cuts, Add.123-24). This factual content is also
             demonstrated by the ARRP that Plaintiffs have been able to obtain. See

             Supp.Add.28. The “Agency ARRP Phase 2 Cover Sheet,” for example, appears to
             be a template OMB/OPM spreadsheet in which agencies fill in factual information,
             including about whether there is a planned hiring freeze and the number of

             probationary employees at the agency. See id.11 This and other similar factual
             material is not deliberative in nature and so is not shielded by the privilege. Pac.
             Fisheries, Inc., 539 F.3d at 1148.
                    Third, as noted, deliberative process is a qualified privilege that can be
             overridden if the litigant’s “need for the materials and the need for accurate fact-
             finding override the government’s interest in non-disclosure.” Warner Commc’ns,
             742 F.2d at 1161. In deciding whether to override the privilege, courts consider “1)
             the relevance of the evidence; 2) the availability of other evidence; 3) the
             government’s role in the litigation; and 4) the extent to which disclosure would


                    11
                      That agency appears to have produced this cover sheet as the entire Phase
             2 ARRP. Supp.Add.27-28. But even if it is not the entire Phase 2 ARRP, at the
             very least there is no basis at all to withhold these factual cover sheets.
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             hinder frank and independent discussion regarding contemplated policies and
             decisions.” Id.12 As to the first criteria, ARRPs are highly relevant. See supra at

             11-12. “[T]he second and third criteria [also] favor Plaintiffs. The evidence
             sought is … exclusively[] under Defendants’ control, and the government—the
             Executive—is a party to and the focus of the litigation.” Karnoski v. Trump, 926

             F.3d 1180, 1206 (9th Cir. 2019).13
                    And as to the fourth and final criteria, Defendants have made no specific
             showing of harm from disclosure. “To test whether disclosure of a document is

             likely to adversely affect the purposes of the privilege, courts ask themselves
             whether the document is so candid or personal in nature that public disclosure is
             likely in the future to stifle honest and frank communication within the agency.”

             Coastal States Gas Corp., 617 F.2d at 866. Defendants and their lone declarant
             repeat the boilerplate statement that ARRPs contain “highly sensitive information,”
             Mot. 23; Add.421 ¶4, but without any explanation of the basis for that claim or
             how much of the information in ARRPs can be characterized as such, or any
             factually grounded reason to believe that the declarant’s boilerplate assertion is true
             for all ARRPs for the dozen-plus agencies at issue in this case. See Reps. Comm.
             for Freedom of the Press v. FBI, 3 F.4th 350, 370 (D.C. Cir. 2021) (“A perfunctory
             statement that disclosure of all the withheld information—regardless of category or

                    12
                      Evaluation of those four factors is within the district court’s “wide latitude
             in controlling discovery.” Pizzuto, __F.4th__, 2025 WL 1391454, at *10.
                    13
                     Other than the cited example, the government has refused to reveal the
             ARRPs to federal employees, their labor representatives, the public, or even in
             response to requests by Congress. Add.52-56 ¶¶175–88.
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             substance—would jeopardize the free exchange of information … will not
             suffice.”) (cleaned up); see also In re Roman Cath. Archbishop of Portland in

             Oregon, 661 F.3d 417, 424 (9th Cir. 2011). Indeed, the ARRP obtained by
             Plaintiffs simply reveals the extent of Defendants’ unlawful plans to transform the
             government. Harm to one’s legal position is not cognizable harm.

                    Defendants also speculate that disclosure “might make recruitment or
             employee retention more difficult.” Mot. 23; Add.421 ¶4. But “agencies must
             concretely explain how disclosure ‘would’—not ‘could’—adversely impair

             internal deliberations.” Reps. Comm. for Freedom of the Press, 3 F.4th at 369–70
             (emphasis added). Suffice it to say this assertion misses the mark for many
             reasons, including the entire context of the radical dismantling of the federal

             workforce that is the subject of this case.

                                                CONCLUSION
                    The Court should deny Defendants’ motion for an emergency stay pending
             disposition of their mandamus petition.




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             DATED: May 19, 2025             Respectfully submitted,

                                             Stacey M. Leyton
                                             Barbara J. Chisholm
                                             Danielle E. Leonard
                                             Corinne F. Johnson
                                             Alice X. Wang
                                             Robin S. Tholin
                                             ALTSHULER BERZON LLP
                                             177 Post St., Suite 300
                                             San Francisco, CA 94108
                                             Tel.: (415) 421-7151

                                             By: /s/ Stacey Leyton

                                             Attorneys for Real Parties in Interest-Plaintiff
                                             Organizations14

                                             Elena Goldstein
                                             Skye Perryman
                                             Tsuki Hoshijima
                                             DEMOCRACY FORWARD FOUNDATION
                                             P.O. Box 34553
                                             Washington, D.C. 20043
                                             Tel.: (202) 448-9090

                                             By: /s/ Elena Goldstein



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                      Real Parties in Interest-Plaintiff Organizations are the American
             Federation of Government Employees, AFL-CIO (AFGE); American Federation of
             State County and Municipal Employees, AFL-CIO; Service Employees
             International Union, AFL-CIO (SEIU); AFGE Local 1122; AFGE Local 1236;
             AFGE Local 2110; AFGE Local 3172; SEIU Local 1000; Alliance of Retired
             Americans; American Geophysical Union; American Public Health Association;
             Center for Taxpayer Rights; Coalition to Protect America’s National Parks;
             Common Defense Civic Engagement; Main Street Alliance; Natural Resources
             Defense Council, Inc. (NRDC); Northeast Organic Farming Association, Inc;
             VoteVets Action Fund Inc.; and Western Watersheds Project.
                                                     -21-
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                                             Attorneys for Real Parties in Interest-Plaintiff
                                             Organizations (except NRDC) and for City of
                                             Chicago, IL; Martin Luther King, Jr. County, WA;
                                             Harris County, TX; and City of Baltimore, MD

                                             Jules Torti
                                             PROTECT DEMOCRACY PROJECT
                                             82 Nassau St., #601
                                             New York, NY 10038
                                             Erica J. Newland
                                             Jacek Pruski
                                             PROTECT DEMOCRACY PROJECT
                                             2020 Pennsylvania Ave., N.W., Suite 163
                                             Washington, D.C. 20006
                                             Tel.: (202) 579-4582
                                             jules.torti@protectdemocracy.org
                                             erica.newland@protectdemocracy.org
                                             jacek.pruski@protectdemocracy.org

                                             Attorneys for Real Parties in Interest-Plaintiff
                                             Organizations (except NRDC)

                                             Norman L. Eisen
                                             Spencer W. Klein
                                             STATE DEMOCRACY DEFENDERS FUND
                                             600 Pennsylvania Avenue SE #15180
                                             Washington, D.C. 20003
                                             Tel.: (202) 594-9958
                                             Norman@statedemocracydefenders.org
                                             Spencer@statedemocracydefenders.org

                                             Attorneys for Real Parties in Interest-Plaintiff
                                             Organizations (except NRDC)

                                             Rushab Sanghvi
                                             AMERICAN FEDERATION OF GOVERNMENT
                                             EMPLOYEES, AFL-CIO
                                             80 F Street, NW
                                             Washington, DC 20001
                                             Tel.: (202) 639-6426
                                                     -22-
(27 of 33), Page 27 of 33   Case: 25-3034, 05/19/2025, DktEntry: 27.1, Page 27 of 33




                                             Sanghr@afge.org

                                             Attorney for Real Party in Interest-Plaintiff
                                             American Federation of Government Employees,
                                             AFL-CIO (AFGE) and AFGE locals

                                             Teague Paterson
                                             Matthew Blumin
                                             AMERICAN FEDERATION OF STATE,
                                             COUNTY, AND MUNICIPAL EMPLOYEES,
                                             AFL-CIO
                                             1625 L Street, N.W.
                                             Washington, D.C. 20036
                                             Tel.: (202) 775-5900
                                             Tpaterson@afscme.org
                                             Mblumin@afscme.org

                                             Attorneys for Real Party in Interest-Plaintiff
                                             American Federation of State County and
                                             Municipal Employees, AFL-CIO (AFSCME)

                                             Steven K. Ury
                                             SERVICE EMPLOYEES INTERNATIONAL
                                             UNION, AFL-CIO
                                             1800 Massachusetts Ave., N.W.
                                             Washington, D.C. 20036
                                             Tel.: (202) 730-7428
                                             steven.ury@seiu.org

                                             Attorney for Real Party in Interest-Plaintiff Service
                                             Employees International Union, AFL-CIO (SEIU)

                                             David Chiu
                                             City Attorney
                                             Yvonne R. Meré
                                             Chief Deputy City Attorney
                                             Mollie M. Lee
                                             Chief of Strategic Advocacy
                                             Sara J. Eisenberg
                                             Chief of Complex and Affirmative Litigation
                                                     -23-
(28 of 33), Page 28 of 33   Case: 25-3034, 05/19/2025, DktEntry: 27.1, Page 28 of 33




                                             Molly J. Alarcon
                                             Alexander J. Holtzman
                                             Deputy City Attorneys
                                             OFFICE OF THE CITY ATTORNEY FOR THE
                                             CITY AND COUNTY OF SAN FRANCISCO
                                             1390 Market Street, 7th Floor
                                             San Francisco, CA 94102
                                             molly.alarcon@sfcityatty.org
                                             alexander.holtzman@sfcityatty.org

                                             By: /s/ David Chiu

                                             Attorneys for Real Party in Interest-Plaintiff City
                                             and County of San Francisco

                                             Tony LoPresti
                                             COUNTY COUNSEL
                                             Kavita Narayan
                                             Meredith A. Johnson
                                             Raphael N. Rajendra
                                             Hannah M. Godbey
                                             OFFICE OF THE COUNTY COUNSEL
                                             COUNTY OF SANTA CLARA
                                             70 West Hedding Street, East Wing, 9th Floor
                                             San José, CA 95110
                                             Tel.: (408) 299-5900

                                             By: /s/ Tony LoPresti

                                             Attorneys for Real Party in Interest-Plaintiff
                                             County of Santa Clara, Calif.

                                             David J. Hackett
                                             General Counsel to King County Executive &
                                             Special Deputy Prosecutor
                                             Alison Holcomb
                                             Deputy General Counsel to King County
                                             Executive & Special Deputy Prosecutor
                                             Erin King-Clancy
                                             Senior Deputy Prosecuting Attorney
                                                     -24-
(29 of 33), Page 29 of 33   Case: 25-3034, 05/19/2025, DktEntry: 27.1, Page 29 of 33




                                             OFFICE OF KING COUNTY PROSECUTING
                                             ATTORNEY LEESA MANION
                                             401 5th Avenue, Suite 800
                                             Seattle, WA 98104
                                             Tel.: (206) 477-9483
                                             david.hackett@kingcounty.gov
                                             aholcomb@kingcounty.gov
                                             aclancy@kingcounty.gov

                                             Attorneys for Real Party in Interest-Plaintiff
                                             Martin Luther King, Jr. County (King County)

                                             Sharanya Mohan
                                             PUBLIC RIGHTS PROJECT
                                             490 43rd Street, Unit #115
                                             Oakland, CA 94609
                                             Tel.: (510) 738-6788
                                             sai@publicrightsproject.org

                                             Attorney for Real Parties in Interest-Plaintiffs
                                             Baltimore, MD; Chicago, IL; Harris County, TX;
                                             and King County, WA

                                             Christian D. Menefee
                                             Harris County Attorney
                                             Jonathan G.C. Fombonne
                                             Deputy County Attorney and First Assistant
                                             Tiffany Bingham
                                             Managing Counsel
                                             Sarah Utley
                                             Division Director – Environmental Division
                                             Bethany Dwyer
                                             Deputy Division Director – Environmental
                                             Division
                                             R. Chan Tysor
                                             Senior Assistant County Attorney
                                             Alexandra “Alex” Keiser
                                             Assistant County Attorney
                                             1019 Congress, 15th Floor
                                             Houston, Texas 77002
                                                     -25-
(30 of 33), Page 30 of 33   Case: 25-3034, 05/19/2025, DktEntry: 27.1, Page 30 of 33




                                             Tel.: (713) 274-5102
                                             Fax: (713) 437-4211
                                             jonathan.fombonne@harriscountytx.gov
                                             tiffany.bingham@harriscountytx.gov
                                             sarah.utley@harriscountytx.gov
                                             bethany.dwyer@harriscountytx.gov
                                             chan.tysor@harriscountytx.gov
                                             alex.keiser@harriscountytx.gov

                                             Attorneys for Real Party in Interest-Plaintiff
                                             Harris County, Texas

                                             Mary B. Richardson-Lowry,
                                             Corporation Counsel of the City of Chicago
                                             Stephen J. Kane
                                             Rebecca A. Hirsch
                                             Lucy Prather
                                             City of Chicago Department of Law,
                                             Affirmative Litigation Division
                                             121 N. LaSalle Street, Suite 600
                                             Chicago, Illinois 60602
                                             Tel.: (312) 744-6934
                                             Stephen.kane@cityofchicago.org
                                             Rebecca.Hirsch2@cityofchicago.org
                                             Lucy.Prather@cityofchicago.org

                                             Attorneys for Real Party in Interest-Plaintiff City
                                             of Chicago

                                             Ebony M. Thompson
                                             Baltimore City Solicitor
                                             Sara Gross
                                             Chief of Affirmative Litigation
                                             Baltimore City Department of Law
                                             100 N. Holliday Street
                                             Baltimore, Maryland 21202
                                             Tel.: (410) 396-3947
                                             sara.gross@baltimorecity.gov



                                                     -26-
(31 of 33), Page 31 of 33   Case: 25-3034, 05/19/2025, DktEntry: 27.1, Page 31 of 33




                                             Attorneys for Real Party in Interest-Plaintiff City
                                             of Baltimore




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                                   CERTIFICATE OF COMPLIANCE
                     Pursuant to Federal Rule of Appellate Procedure 32(g), I hereby certify

              that this motion complies with Federal Rule of Appellate Procedure 27(d)(1)(E)
              because it is proportionally spaced and has a typeface of 14 points. It contains
              5,267 words, in compliance with the type-volume limitations of Circuit Rules

              27-1(1)(d), 32-3(2), and 32-2(b), as a joint brief submitted by the separately
              represented parties of Plaintiff Organizations, the County of Santa Clara, and the
              City and County of San Francisco.


              Dated: May 19, 2025                   /s/ Stacey M. Leyton
                                                    Stacey M. Leyton




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                                          FILER’S ATTESTATION
                     Pursuant to Circuit Rule 25-5(f), the filer attests that all other signatories

              to this document concur in the content of, and have authorized, this filing.


              Dated: May 19, 2025                     /s/ Stacey M. Leyton
                                                      Stacey M. Leyton




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